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                                                            cl-Ee s OFFICE U.S.DIST,fh.
                                                                                      ntlr
                                                                ATciiM lr rrEsvlLa VA.
                                                                                             FILED

                            IN THE UNITED STATESolsTltlc'
                                                        rcorR'r                      FEB 26 2018
                        FO R TH E W ESTERN D ISTR IC T O F V IR G INIA              um   .     o rdG*V
                                   CHARLOTTYSW LLE DIVISION                      B:              ;'
   ELIZABETH SINES,etalt,                                   CaseNo.3:17-Jv-00072- KM -CH
                            Plaintiffs,



   JA SON KESSLER.,eta1.,

                            Defendants.




    M EM OM NDUM OF POINTS AND AUTH ORITIES IN SUPPO RT OF JOH N DO E'S
      M OTION TO OUASH SUBPOENA S TO TW ITTER.INC..GODADDV COM LLC.
                                CL O UD FLA RE .IN C.kAN D H A TR EO N

    1.    IN TR O D U CTIO N

          Plaintiffshavem adethisCourtaparticipantin 21stCentury M ccarthyism .Relyingon
                                                                      '
                        .

    thetenuousconspiracytheoriespleadintheirComplaintts),Plaintiffshaveservedsweeping
    third party subpoenason antlm berofinternetserviceproviderscalculated to tmcoverthe
                                    '
                            .



    anonymousidentitiesoftens,ifnothundredsofthousands,ofindividualswhoseonly faultis
                        '                  .,                                            .
                                                             .   '
                                                .


    som eafsliajion with apoliticalmovem entwith which Plaintiffs'counseldisagree. Ifallowed,

    Plaintiffs'third party discovery willchilllegalpoliticalspeech and discouragepolitical

    association in contravention oftheFirstAm endment.lndçed,to silencerightwing speakers,

    em barraësand deny livelihoodstp theirfollowers,and to break up rightwing political

    orgN izationsappearsto betheentirepoint,notjustofthesubjectthirdpartydiscovery,butof
    this tm derlying lawsuitasw ell. The Court.should decline to exercise itspow er in suppot'tof

    Plaintiffs'tm constitutionalwitch-hunt. .




                                                    1
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          PtlrsuanttoFederalRuleofCivilProcedure45(d),26(c)and 18U.S.Codej2702,Non-
   Party Jolm DoeM ovanthereby m ovesto quash Plaintiffs'subpoenasissued by counselfor

   Plaintiffsfrom thisCourton orarotmd January 30tllrough Febnzary 1,2018 to Twitter,lnc.,

   Godaddy.com LLC,Cloudflare,Inc.,and Hatreon. Doc.226-2 -226-51. These subpoenasseek
                                   .                                   '
                      .

   identifyinginfonnation forlikely tensofthousandsofnon-parties,andperhapsm any m ore,

   w ho have no cozm ection whatsoevertotheAugust12,2017 ''UnitetheRight''rally in
                                         .




   Charlottesville,VA.Plaintiffs'discovery seeksto sweep up and unniask thesepeoplem erely

   becaùsethey may have comm unicatedviaTwitterwith,orabout,annmed defendantoralleged

    ''co-conspirator'',funded politicalintem etcontentoractivism,orvisited apoliticalwebsite.

   Thetrue goalofthesubpoenasappearsto bethetargeting ofinnocentpepplefor'
                                                                         harassm ent,

   professionalretaliation,and possiblephysicalharm becauseoftheiranonymouspoliticalspeech

   andpoliticalassociations.Bpttheseactivitiejstand atthevery heartoftheFirstAm endment,
                                                            '
                                             .



   are strongly protected,and Plaintiffs'cnnnotclearthehigh relevance barnecessary to overcom e

   thoqe FirstAm endm entprotections.'Additionally,sincetheTwitterand Hatyeon subpoena

   seekstheproduction ofelectronictommunications,aswellasrecords,Twitterand Hatreon's

   compliancewiththesubpoenaisbarredunder18U.S.Codej2702(a)(1).Finally,the
    subpoenas'requestsarestaggeringly'overbroad,and would failFed.R.Civ.P.26's

   proportionately requirementj,even ifthey weren'talready fatally defectiveon constitutional

   and statm ory gp unds. Al1foursubpoenasshouldbequashed in theirentirety.




   1A 11''D oc''citationsare to the instantcase's ECF docket.
                                                   2
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   II.    STA TEM EN T O F FA C TS

          A.     Plaintiffs'Subpoenas.

                 1. The Tw itter Subpoena.

          ''Twitterisasocialnetworkingservicethatpermitsuserstopost()messagesusingshot'
                                                                                      t
  comm tmicationscalled 'tweets,'andto readthetweetsofotherusers. Userscan m onitor,or
                                     .




  'follow ,'otherusers'tweets,and can permitorforbid accessto theirown tweets.In addition to

  postingtheirowntweets,usèràmaysendmessagestoasingleuser(Gtdirectmessages'')orrepost
  otherusers'tweets('
                    retweet).''lnreApplicationoftheU S.foran OrderPursuantto18 US.C.
  sec.2703(d),830F.Supp.2d 114,118,2011W L 5508991(E.D.Vy.2011).UnlessaTwitter
  userhas''blocked''or 'm uted''anotherspecific Tw itteruser,anyone m ay see anyone else's

  tweets,and mayrespond tothem orretweetthem totheirown followers. See

  hûps'
      .//help.twider.coe eiusing-twiûel blocking-r d-m utinc;https'
                                                                  .//help.twider.coe eiusing-

  twiler/m entions-and-replies.

          CounselforPlaintiffssigned a subpoenadirected to Twitteron January 30,2018.Doc.

  226-2 at10. TheTw ittersubpoena seeksproduction ofdocum entsrelatedto ''Prim ary Users''

  and ''Secondary Users''.Id.at5. ''Prim ary Users''appeartobeTwitteraccountsrelateddirectly

  tonamedDefendantsorallegedco-conspirators,e.g.,@ ltichardBspencerand@brDavidDuke.
  f#.Thesubpoenadefines''SecondaryUsers''as''any g'l-witterjUserthatcommunicatedwiththe
  PrimaryUsersbetweenJune1,2017andAugust18,201t.''1d.''Communication''and
   ''com m unications''are desned broadly ''to include any tw eetordirectm essage on Tw itter'',and

  thesubpoenaf'urtherprovidesthat''(a)communicationisconsideredsenttoaTwitterhandle
  when itincludes thatTw itterhandle.'' 1d.at3 & 5. Thisw ould include both'replying to a tw eet
y                                                                                            '

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              from aTwitterhandle,and rrtw eeting thetweetfrom theTwitterhandleto one'sown followers,
              sinceboth ac'
                          tionswould includetheoriginalTwitterhandle.

                         RequestNo.6 seeks''alldocumentsand datasufficientto identify the accotmtsofall
                     '                                                             .                          .

               Secondary Users'',where ''accpunt''refersto appare
                                                                'ntly a1l''dataassociated with aTwitter                '.

              handle,includingtheTwitterhandlefollowing,theTwitterhandlçitfollows,tweetsh'om that              '
               Twitterhandle,thetimeline associated with thatTwitlerhandle,thedirectmessagesassociated

               with the Twitterhandle,and any datasuch asthe usernnm e,location,orassociated websitefor

              thatTwitterhandle.''1d.at9 & 4-5(emphasisadded).Thus,undertothedefinitionssetforthin
              theTwitters'ubpoena,RequestNo.6 seekstheuseynam e,location and otherdata associated with
               any
                 'Twitteruserwho eitherrespondedto orretweeted atweetincltlding thetwitterhandleofany
                                                                                                             , '   .

               PrimaryUserwithinthespecisedtimeframe,regardlessofthesubjectmatterofthefwcc/.Thus,
               any accotmtthatpostseven a criticalreply to one ofthePrim ary Usersissweptup in Plaintiffs'

              Request.M oreover,theaccountsto beidentised in responseto RequestN o.6 includeaccounts

              thatmerely ''mention''oneofthe''PrimaryUsers''-they arenollimitedtoaccountsthatdirectly
               receivetweetsfrom ordirectly tweeted to a ''Prim ary User''.Thismeansfhattwitterhandlesthat

               areengagedindiscussionsabout,forexample,@RichardBspencer,orreplytopeoplewho
    .
               repliedtothe@ltichardBspencerhan'
                                               dleare''SecondaryUsers'',whichmustbeidentifiedin
               response to RequestN o.62. Additionally,''identiscation''ofSecondary Accountsunderthe

               subpoènaincludesnotjustrecordsabouttheaccount(e.g.,handle,username,etc.),butalsothe
               contentofboth tw eets and private directm essagesthem selves. Signiûcantly,RequestN o.6,



               2Forperspective on the scope ofthisR equest, defendantR ichard Spencerhas over 80,000
        '
               TwitterfollowersasofFebnlary 19,2018. Seehttps://twiler.coe RichrdBspencer?lang=en.
               Anyofthose80,000peoplewhorepliedtoorre-tweetbdatweetfrom @RichardBspencer
               between June 1,2017 and August19,2017 isa ''Secondary User''tmdertheTwittersubpoena.
               Doc.226-2at5(paragraphs20.
                                        -21).                                  %       .

                                                              4
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      incop oratingthebroaddefinition of''accotmti
                                                 ',seeksdisclosureofa1lnon-publicdirect

      m essages w ith anyparty whatsoever,so long asthose directm essages are associated w ith an

      associated 'SecondaryU ser''. SeeDoc.226-2 at4-5.Thisrequestforal1comm unications

      associatedwith aSecondaryUserisnotlimited intimeorsubjectmatter.1d.
             RequestNo.7 syeks''(a)llcommunicationsbetweenoramongthePrimaryand
      Secondary Usersbetween Jgne 1,2017 and August19,2017'
        .
               -                                      --';
                                                           '. By itsterm s,and underthe
                                                                   '




      definitionsprovided,RequestN o.7 seeksal1com munications,including non-publicdirect

      messages,onwhateversubject,includingcommtmicationsonlybetween SecondaryUsers,in
      w hich no Prim ary U serisinvolved.
                                     '
                          .


                     2. ' T he G odaddy Subpoena.

             Godaddy isailinternetdom ainnam eregistrarand hosting selwicelocated in Scottsdale,

      Arizona.SeeKoenig v.ALL.COZ No.1:08-CV-1169(GBL),2009W L 2447945,at*2(E.D.
      Va.July31,2009).CounselforPlaintiffssignedtheGodaddysubpoenaonFebnzary 1,2018.
      Doc.226-3at8.RequestNo.2(b)oftheGodaddy subpöenaseeks,interalia,''Eaql1trafficlogs
      fortheDaily Stormerwebsitefrom August1to 19,2017,including allidentifying information

      foreach vijitorto theDaily Stormerwebsitesuch astim estam p,locâtion,IP addressand M AC
  .
      address.''f#.at7..RequestNo.3(b)seeks,interalia,''gaqlltrafficlogsforAltm ght.com from
      August1to 19,2017,including al1identifying information foreach visitorto Altltight.com suçh

      astimestamp,location,IP addressand M AC address.''1d.at8.

                     3.       TheCloudflare Subpoena.

             Cloudflare is a distributed internetdom ain nnm e serverand security com pany located in

      San Francisco,Califon
                          v ia.Seeh/ps://en.wikipedia.org/wiki/cloudnare#Reverse proxy.
      Cloudflére acts as a ''reverse proxy'',w hich m eans that.
                                                               c loudflare's servers actas interm ediaries


                                                            5
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  betweenwebclients(e.g.,usersontheIhternetsearchingforresources)andwebservers(e.g.,
  web siteshostingcontent).1d.ThisallowsCloudflaretobetectandmitigate''distributeddenial
      ofselwice attacks'',which seek to shutdown aweb serverby rapid,repeated queries.1d.

      CounselfoiBlAintiffssigned the Cloudflaresubpoena on February 1,2018.Doc.226-4 at9.

  RequestNo.2(b)oftheCloubflaresubpoenaseeks,interalia,''(aj11trafficlogsfortheDaily
      Stormerwebsitefrom August1to 19,2017,including a11identifying information foreach visitor

  to theDaily Stormerwebsite such astim estamp,location,IP addressand M AC address.''1d.at

      7.'
        RequestNo.3(b)seeks,interalia,''(aq11trafûclogsforAltltight.com from August1to19,
      2017,fncludinga11identifying infonnation foreach visitortoAltRight.com such astim estam p,

      location,IP addressandMAC address.''f#.at8.RequestNo.4(b)seeks,interalia,'!(aj11traffc
      logsforthe ltightStuffw ebsite from August1to 19,2017,including allidentifying infonnation

      foreach visitorto theRightStuffwebsite such astim estam p,location,IP addressqnd M A C
      address.'' f#.at9.

                    4.     TheH atreon Subpoena.

             Hatreon.com isan anonym ousf'unding platform through which interested individualscan

      f'kmdthecreatipnofinternetcontenttat4,essaym iting,videos,audiopodcasts,etc.)from other
      people,orsupporttheiractivism orotheractivities. Seehûps://en.wikipedia.orc/wiki/Hatreon.
  '
      Hatreonwasfoundedasaresponsetbsimilarcrowdftmding'
                                                       platforms(e.g.,Patreon.coni,
      Kickstarter.com,etc.)refusingtoserveright-wingintem etcontentcreatorsbyimpl
                                                                                .ementing
      strictpoliciesreg>rdingso-called ''hatespeech'').See1d.Plaintiffs'cotmselsignedtheHatreon
      subpoenaonJanuary31,2018.Doc.226-5at9.RequestNo.1tothezatreonsubpoenaseeksal1
      dpcum entsand communicationsregarding funding ofany ''DefendantorOtherRelevant

      Individuals''including,interalia,the identity ofthesenderand therecipientandtransaction


                                                   6
!

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      recor
          'ds,dollaram ount?paym entm ethod used,including the sender'sbank o!
                                                                             rotherfinancial

      accounts. Id.at8. Thelistof''RelevantIndividuals''includesover50 ihdividualsand

      organizations,m ostofw hom are notnnm ed in Plaintiffs'C om plaintseitheras D efendants or

      alleged co-conspirators.RequestN o.2 seeksdocum entssufscientto show ''theidentity ofany

      person orentity who contributed fundsto any DefendantsorOtherRelevantIndividuals,
      includingsuchperson orentity'snnme,usernnme,emailaddress,phonentlmàer,mailing
      address,IP address,and M AC address.'i1d.at8. RequestNos.1and2 arenotlim ited in tim e,

      andarenotlimitedtothesubjectmatterofthecontentoractivityallegedly ftmded.RequestNo.
      3 seeksalldàcllm entsand com mtmicationsconcerning any solicitation orreceiptoff'undsby any

      person relatingto ''costsrelated tothetravelto,attendance at,lodging for,orlegalfeesarising

      from ''avariety ofralliesheldin Charlottesville,VA .1di

             B. The SubpoenasW illUncoverNon-publicCom m unicationsAnd O ther
             Personally ldentifvinz lnform ation O fN on-parties.

             Theinform ation Plaintiffsseek willenablethem to unm ask thennmesoflikelythousands

      ofnon-party individuals,generate information abouttheirpoliticalpersuasion and onlinereading

      habits,learnwhotheyareconversingwith onlineandaboutwhichsubjects,andpossiblytotrack
      theirlocationsovertime.M ovantisspeciûcallysubjecttotheserisksintheeventthat
      subpoenasare notquashed.

             Asissetforth insectionII(A)(1'
                                          )supra,theTwittersubpoenacastsawidenetfor
       ''Secondary Users'',definingthoseindividualsasanyonewho tweeted anything includingthe
                                                                              '
                                                   .
      handleofaPrimaryUserduringaspycifiedtimeframe.Ddc.226-1 at5.Then,forallSecondary
      U sers,R equestN o.7 dem andsa11com m tm ications between a Prim ary U serand a Secondary

      User,onwhateversubject;duringaspecifiedtimeperiod(Doc.226-2 ét9)andal1
       communicationsoccurringonlybetweenSecondaryUsers,onwhateversubject,during'the

                                                       7
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  specifiedtimefmme(See1d.,''among..secondaryUsers'').W orse,RequestNo.6 seeks
  identitk atibn ofa11Secondary Useraccounts,wherethisisdefined asproduction a1ldata

  concerningtheaccountincluding a11twèetsassociated with thehandle,and a11non-publicdireçt

  messagesassociatedwiththehanble,towhateverparty,onwhateversubject.Doc.226-2at4-5,
  definitionof''account'').ln otherwords,theTwittersubpoenarequiresturningoveraSecondary
  User'sentireTwitterdirectmessageinboxjustbecausetheUsermayhaveretweetedatweet
  from aPrim ary Useraccountduring the lpecified timeframe.

         In addition tohtm -publiccomm unications,theTwittersubpoenaseekspersonally

   identifyinginformationaboutuntoldthousandsofusers.Seee.g.,Doc.226-2at9(RequestNo.
   6)& 4-5(defining ''account''toinclpdeusername,location,and ''any (other)data...forthat
  Twitterhandle.'').A Twitterusernamemaybeassociatedwith anindividual'sactualname,but
  m oretothepoint,Twitterp quiresan em ail.addrèssto register,and forcertain accounts,requires

  atelephonenumberforverification.'Seehlps://help.twitter.coe eimanacinc-your-
          .
                                                            '                      N$

  account#usem am e-em àil-and-phone,tmdertheheadings''usernam e,em ailandphone''.Under

  theTwittersubpoena'sbroad definition of''account'',thisemailand telephonedataw ould be

  produced.Telephonenumbersareclearlypersonallyidentifyirk,andemailaddressesmaybe
  personally identifying,particularly ifthey includeaperson'sactualnam e,orareassociated with

   otheremailaddressesthatdo.TheRequestedlocationinformation (i.e.,thelocaiionfrom which
   apersonsubmittedatweet),mayalsobeusedtotrackan individual'smovements,andmaybe
   correlated with otherdataaboutthatindividualto revealtheiridentity.

          TheC.loudflareandGodaddysupoenasseektrafficlogs(i.e.,logsofinformationabout
  visitingcomputercolmections)includingthetlmestamp,locationofthemquestingclient,IP
   addressesandMAC Qdressesofcolmectingcomputersforthreewebsites:X'ltright.com,The


                                                8
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 '
     Daily Stormerand TheRightStuff. Doc.226-3 at7-8;Doc.226-4 at'7-9.lnform ation

     responsive to these Requestswillallow Plaintiffstobuild a databaseofthelbcation,IP address

     andM AC addressofeverylntenwtuserwhovtsitedoneofthesubjectwebsitesduringa
     specifiedtimefrnme.Thereisawealthofindividualtyidentifyinginformationinthetrafficlogs
     thataresubjecttotheseRequests.
            An IP addressisa ntlmericvalueused to identify thenetwork location ofacomputeror

     setofcomputerson theInternet. Seehttps://en.wikipedia.org/wiki/lp address. lnternetrouters

     usetheIP addressto decidewhereto send comm unicationsAddressed to aparticularcomputer

     user.See1d.IP addressesareallocatedtolnternetserviceproviders(e.g.,Comcast,Verizon,
     andbusinessorentepriseISPS)andoftenreflectthegeneralphysicallocationoftheareathey
     selwe,and in any event,thephysicallocation ofan ISP'SIP addressisgenerally publicly.

     availableinfonnation thatcan befound on theIntenwt. See,e.g.,

     https://whatismvipaddress.coe s
                                   'http://ceobvtes.com/. Even where an IP addressisnotpublicly

     relatedtoaphyslcallocation,asubpoenatothiISP canrevealthephysicâllocationassociated
                                                                          '               '
                           .            .                                             .



     with an individualsubscriberIP addressto thelevelofthesubscriber'sphysicaladdress. ISP'
                                                                                           S

     can alsodelegateIP addressesto oiherentitibslikebusinesses,Universities,orsmallerISPS,and
     these delegated IP addressescan betzsed toidentify thpseentities.M AC addresses,also being

     requested,areunique,individualidentifierjassociated with anetwork interfaçecontrollerfora

     specificmachine(e.g.,one'slaptop,smartphone,orhomerouterorgateway).See
     hlps://en.wikipedia.org/wikiN Ac address.

            H aving accessto a11ofthe inform ation would allow Plaintiffto do a pum berofthings.
                                                                      '           .
                                  .


     First,traffclogssuch asthoseRequestedbyPlaintiffscah beused to locatethephysical
                                                                              '
                                                              .

     location,atleastroughly,ofa tm ique individualvisitorto awebsite,and specificlocation data
                                                  .
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   can behad through f'urtherdiscovery dirtcted atan individual'sISP,oncethevisiting IP address

   isin hand. lndeed,Plaintiffs'Requestsexplicitly ask forthe ''location''ofthq visiting computers

   in theirdefinitionsof''
                         traftk logs''. Seçond,thetraftk logs,in som ecases,can identify the

   computersystem theindividualuserisusingtovisitthesubjectwebsite,e.g.,theidentityofthe
   university system beingused,orpossibly the individual'semployerin theeventthatabusiness

   system isbeingused.Third,by also askingforM AC addresses,therequested traffic logscan be

   used to build am ap ofm ovem entsofpm icularindividualsovertim e. For exam ple,ifsom eone

   visitsAltright.com using theirphone logged into W iFiataUrlivçrsity ISP,then latervisitsthe

   samesitefrom herhomenetwork,then latergoeson atrip andvisitsthesamesiteusinjher
   phonefrom an internetcafé'sW ifi,thetrafficlog willrevealthephone'sm ovem entQvertime.

   By comp:ringthissortofinformation withtimestampinformation (alàcirequested),andby
   comparing patternsam ong diffeyentdevices,therequestedtrafficlogscén also revealm edings

   between individualsin variousplacesovertime.

          M ore directpersonally identifying information issoughtin theHatreon subpoena,which

   asksfornam es,em ailaddresses,phone num bçrs,and P addresses for anyone w ho contributed

   fundsthrough Hatreon,atwhatevçrtim eand forwhateverpurpose,to any nam ed Defendantor

   anyone'elsein alistofover50 individuals. Doc.226-5 at8.

          C.     M ovant'sN on-public Com m unicationsA nd Personallv ldentifyinq
          lnform ation W illBe D ivulzed In R esponse T o The Subpoenas.Puttinz M ovantA t
          m sk O fH arm

          Asissettorth intheDeclarationofJohnDoe,M ovant'snon-publicTwitter
   comm unicationsand otherpersonally identifying information willbedivulged in responsetothe

   subpoenas. lfM ovant'sadvocacy ofideasassociated withthe l'alt-right''becom espublicly




                                                 10
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   lcnown,M ovantwillsufferpersonaland professionalconsequences,which consequenceswill

   tend to discourage M ovant'spoliticalspeech,advocacy and association.

          M ovantengagesin onlineanonym ouspoliticalspeech and advoèacy through M ovant's

   Twitteraccount.DoeDec.,154-5.M ovantdoesthisbypostingtoTwitter,andbyexchanging
   dired messageswithotherTwitteruserswho arelike-ininded.fJ.atj55-6.BetweenJtme 1,
   2017 and August 17,2017,M ovantreplied on Tw itterto a tweetposted by one ofthe ''Prim ary

   User''accountslistedin theTwittersubpoena.f#.at!7.M ovantisthereforea''SecondaryUser''
   undertheTwittersubpoena.f#. M ovant'sTwitterhandle ispseudonymous,butM ovant's

   Twitteraccotmtisassociated with M ovant'sphonenupberand an eméilaccount,which itselfis

   associatedwithanotheremailaccountincop oratingM ovant'struename.f#.at!4.Thus,
   M ovant'sphonenum berisdirectly responsiveto the Twittersubpoena'
                                                                   ,and theem ailaccotmt

   associated with M ovant'sTwittefaccotmtcan beused,with furtherdiscovery op M ovant'semail
   serviceproviders,to revealM ovant'snnm e. See'ftf

          Additionally,M ovantvisitsthewebsitesforwhich thesubpoenasseek traffclogs! Doe

   Dec.at::8-9.M ostofthesevisitsaretotheRightStuffwebsite,which M ovantvisitsprimadly
   tolistentopoliticalandculturalpodcasts.!9.M ovantalsopoststoauserfqrum attheRight
   Stuffwebsite.Id.Thesepostsaregenerally aboutpolitical'orculturalissuesofthe day.fJ.

   M ovantiycertain thatM ovantvisitedtheRightStuffwebsitqbetw een August1 andAugust19,
          .                             :
                                                         '
                             .

   2017 Id Accordingly,infonuation regarding M ovant'svisltto theRightStuffwebsitewou'ld

   beproducedintrafficlogsfortheltightStuffwebsite,ifanyexist.jee1d.
          M ovantalso has a H atreoh àccount,w hich M ovantestablished to anonym ously support

   essayistsahdpodcastproducerswhoseworkM ovantenjoys,andpoliticalactivistswithwhoriz
   M ovantagrees.SeeDoeDec.at!10.M ovànt'sHatreonaccountisassociatedwithanemail


                                                11
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   accolmt,which itselfisassociated with anotherem ailaccountincorporatingM ovaùt'strt!enam e.
                                          .

   1d.M ovantdoesnotbelievethatM ovantactu>llydonatedqnymoneytjtrougj,uatreon.
      .




          M ovantiscdncerned thattheinform ation soughtby thesubpoenaswillrevealM ovant's

   tz'
     ue identity and onlineassociationswith ''alt-right''people and advocacy fortheirideas.Doe
                                          *
                                                                                             .



  .Dec.at!!3& 11.M ovantijworriedthatM ovantwillsufferpersoùally aùdprofessionallyin
                                                      '                                  .
                 .
                                 -                                                   .           '
                     .

   theeventthatM ovant'sidentityisrevealedbyPlaintiffs'discôvery.1d.at!!11-12.'
                                                                              Specifically,
                                                  '
                                              .
   M ovantfearsthat,ifM ovantisidentised in connection with thislitigation,M ovant'sfnm ilial

   relationswillbestrained,M ovantwillbe socially ostracized,and thatM ovantwillloseM ovant's

   job.1d.Thisfearisbasedonwellpublicizedstoriesofthenegativepersohalandprofessional
   ponseqpencessuffere'
                      dàyotherpeopleinihe''alt-right'',whoseidentitieshavebeenrevealed.1d.

   at:11.Additionally,M ovantfearsphysicalharm toMovantandM ovant'sfamilyintheevent
   thatM ovantispersonallyidentifed.Id.at:13.Thisfearisbasedonnewbstoriesregarding
   ''alt-right''figurçswho havebeen attacked,such asRichard Spencer.1d.

          BeingpersonallytdentifiedishighlylikelytocauseM ovan'ttôengagein lesspolitical
   expression,advocacyandassociation.SeeDoeDec.at!14.Infact,fearofbeingpersonally
   identifiedthrough Plaintiffs'subpoenashasalready caused M ovanttobelessactivein online

   politicaldiscussionsand advocacy.Id. M ovantassociateslessonline with peoplein the ''alt-

   right''thanM ovantused to. M ovantisunwillingto donateto activistsand contehtproviderson

   the''alt-right''forfearofbeingpersonally identified.1d.

     111. LEGAL STANDARD
           TheFederalRulesofCivilProcedtlreperm itthediscovery of''anynonpdvileged m atter

   thatisrelevanttoanypart/s,claim ordefenseandproportionaltotheneedëofthecase.''Fed.R.
   Civ.P.26(b)(1).A party seekingdiscoverythatimplicajestheFirstAmendmentrightsof
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   freedom ofspeech orassooiation,however,mustshow thatlGinformation soujhtishighly
   relevqntto the claimsordefensesin the litigation- a more demanding standard of

   relevance than that under Federal RuleofProcedure26(b)(1).''Pcrryv.Schwarzenegger,
   591F.3d 1126,1141(9th Cir.2010)(emphasisadded).Additîonally,even ifallowed,discovery
   im plicating FirstAm endmentrightsmustbei'carefully tailored to avoid ulmecessary

   interference with protected activities,and the information m ustbe othezw iseunavailable.''1d.A

   courtmustquash orm odify a subpoena if it GGrèquires disclosure ofprivileged or other .
           '                                                                               .
       .

                          ç   '           .
   protectedmatter''or Ssubjectsapersontounduebtlrden.''Fed.R.Civ,P.45(d)(3)(A)(iii),(iv).
   A courtmay quash asubpoenasuasponte,even ifitdetenninesthataparty ornon-party lacks

   standingtobringamotionto quash.SeeJeffersonv.BiogenIDEC Inc.,No.5:11-CV-00237-F,
   2012W L 1150415,at*1 (E.D.N.C.Apr.5,2012);Newqombv.PrinckalMut.L# Ins.Co.,No.
   1:07cv345,2008U.S.Dist.LEXIS79980,at#8,2008W L 3539520(W 7D.N.C.Aug.11,2008)
   (denyingtheplaintiffsmotiontoquashthedefendant'ssubpoenawheretheplaintifflacked
   standingbutneverthelesssua spontequashing thesubpoenasasoutsidetheboundsofRule

   26(b)(4)(A)).
               Additionally,theSto'
                                  redCommunicationsAct(18U.S.C.52701etseq.)prohibitsthe
   releaseofstored electroniccom municationsin respon
                                                    'seto'acivilsubpoena.In reSubpoena

   DucesTecum toAOL,LLC,550F.supp.zd606,611(E.D.Va.2008).
               Finally,acourtmay quash a jubpoenaifitisoverbroad orseeksirreleyantintbrmation.

   Singletaryv.Sterling Transp.Co.,289F.R.D.237,241,2012W L 5449687(E.D.Va.2012)
   citingCookv.Howard,No.11-1601,2012W L 3634451,at*6(4thCir.Aug.24,2012)(per
   curiam)CW lthoughRule45(c)setsforthadditionalgrolmdsonwhichasubpoenaagainstathird



                                                  13
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   partym ay bequashed ...thésefactorsare co-extensivewith the generalrulesgoverning a11

   discoverythataresetforth inRule26.'').

     lV . AR G U M EN T

          A.       TheSubpoenasViolateV ovant'sFirstAinendmentRizhts
          Thesubpoenasshouldbequashed in theirentirety becausethey violate M ovant'sFirst

   Amendmentrightsto anonymousspeechand assodation.TheCourtshoutdsubjeçtthese
   subpoenasto pM icularscrutiny becauseproduction willchillpoliticalspeech aboutand

   associationsconcerning im portantissuesofthe:day -thesortpfa'ctivity thatliesatthevery heart

   oftheFirstAmendment'sprotection.M eyerv.Grant,486U.S.414,422,425(1988)(describing
   theFirstAmendmentprotectionofGicorepoliticalspeech''tobe'çsatitszenith'j.
                   1.   M ovaizthasaFirstAmendmentprivjlegetoengagein anonymous
                        politicaljpçech.

          The FirstAm endmentguaranteestheright,notonly to organize and engagein political

   advocacy and debate,butalsotherightto do so anonym ously.W herediscovery seeks

   identifyinginform ation aboutspeakersengaged in such activity,theparty seeking discovery

   bearsthebtlrdenofdemonstratlngacompellingneedfortheidentifyinginformation.Plaintiffs
   herecannotcarry thisbtzrden.                                                               .

                   a.   The FirstA m endp ent protects the rightto engage in aùonym ous
                        jpeech.

          TheAnglo-Am erican tradition ofanonym ouspoliticalspeech pre-datesthefotmding of

   theRepublic. AsJusticeBlack noted,writing fortheSupreme Courtalmost60yearsago,

          Anonym ouspamphlets,leaflets,brochuresand even bookshaveplayed an
          importantroleiptheprogressofm nnkind.Persecuted groupsand sectsfrom time
          to tim etilroughouthistory havebeen ableto criticizeoppressivepracticesand
          laWseitheranonymouply ornotatall. Theobnoxiouspresslicensinglaw of
          Englald,whichwasalsoenforèedonthéColonieswasdueinparttothe
          knowledgethatexpostlrè ofthenamesofprinters,writersand distributorswould
               '                                14
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          lessenthe circulation ofliterature criticalofthegovernm ent. The o1d seditious
          libelcasesin England show the lengthsto w hich governm enthad to go to find out
          w ho w as responsible forbooks thatw ere obnoxiousto therulers. John Lilburne
          wasFhipped,pilloried and fined forreftlsing to answerquestionsdesigned to get
          evidehceto convicthim orsom eone else forthe secretdistribution ofbooksin
                     .

          England.Two Puritan M inisters,John Pemy andJohn Udal,were sentenced to
          dpath onchargesthattheywereresponsibleforwriting,printingorjublishing
          books.BeforetheRevolutionary W arcolorlialpatriotsfrequently had to conceal
          theirauthorship ordistribution ofliteraturethateasily could hayebroughtdown
          on them prosecutionsby English-controlled courts. Along aboutthattimethe
          LettersofJtm iusw ere w ritten and the identity pftheir authorisunknow n to this
          day.EventhePederalisiPapers,m itteninfavoroftheadoptionofour
          Constitution,werepublished underfctitiousnam es. ltisplain thatanonymity
          hassop etimesbeen assum ed forthem ostconstructivepurposes.

   Talley #.Calfornia,3.
                       62U.S.60,64-65(1960)(strikingdownaCalifornia1aw balmingthe
   distributionofhandbillsthatdidnotincludethenameandaddressoftheauthor.).On similar
   factstothosein Talley the Courtstruck down anotherstatuebaning anonym ouspolitical

   handbills in 1995,stating,

          The decision in favorofanonymity m ay bem otivatedby fearofeconom ic or
          officialretaliation,by concern aboutsocialostracism ,orm erely by adesireto
          preserve asm uch ofone'sprivacy aspossible:W hateverthem otivation m ay be,
          atleastin thefield ofliterary endeavor,theinterestin having anonymousworks
          enterthem arketplace ofideasunquestionably outweighsany publicinterestin
          requiring disclosur: asa condition ofentry. A ccordingly,an author'
                                                                            s decision to
          rem ain anonyp ous,likeotherdecisionsconcem ing omissionsoradditionsto the
          contentofapublication,isan aspectofthefreedom ofspeech protected by the
          FirstAmenèment.

   M clntyrev.OhioElectionsComm'
                               n,514U.S.334,341-42(1995).Anonymoustweetsand
   otherlntenwtpostingsshoùldbethoughtofasthe21stceniuryvqrsionofanonymouspolitical
   handbills,orthe anonym ously published Federalistpam phlets. A nd indeed,courtshave found

   thattheFirstAm endm ent'sprotectionsforanonym ousspeéch extendbeyond politicalflyersto

   em ailm essagesand lnternetm essageboard postiiv sliketheonessovghthere. SeeRenov.

   ACLV 521U.S.844,870(1997);Doev.ztheMart.com,140F.Suppz2d 1088,1093(W .D.
   W ajh.2001) ($GTherighttospeakanonymouslyextendstospeechviatheIntem et.lnternet

                                                 15
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   anonymityfacilitatestherich;diverse,andfarrangingexchangeofideas.''). A courtordersuch
   asasubpoena constim tesstateaction implicatingthese Constitutionalprotections,even in the

   contextofprivatecivillitigation. See,e.g.,New York Timesv.Sullivan,376U .S.254,265

   (1964);Shelley v.Kraemer,334U.j.1,14 (1948).

                 b.      AnonymousspeakersenjoyalimitedprivilegeundertheFirst
                         Am endm ent.

          BecausetheFirjtAmendmentprotectsanonym ousspeech and association,thoseengéged

   inanonymousspeechandassociationenjoy aqualifiedprivilegetoresiststateeffortstopierce
   their anonym ity,including discovery orders such as subpoepas. In
                                                                   ' recognition ofthisprivilege-    .




   courtsmustçibevigilant...(andqguardagainsttmduehindrancesto ...theexchangeofideas.''
   Buckleyv.Am.ConstitutionalLJw Found.,525U.S.182,192(1999).Justasinothercasesip
   which litigantsseek inform ation that m ay be privileged, courts.m ust consider the privilege

   beforeauthorizing discovçry. See,e.g.,Sony M usicEntm 'tInc.y.Doès1-40,326F.Supp.2d

   556,565 (S.D.N.Y.2004)(GW gainstthebackdrop ofFirstArqend
                                                           .mentprotection foranonymous
   speech,courtshaveheld that civil subpoenas seeking information regarding anonym ous

   individuals raiseFirstAmendmenlconcerns.');Grandbouchev.Clancy,825F.2d 1463,1466
   (10thCir.1987)(citingSilkwoodv.Kerr-hkGeeCorp.,563F.2d433,438(10th Cir.1977))
   (çsgW jhenthesubjectofadiscoveryorderclaimsaFirstAmendmentprivilegenottodisclose
   certainirlformation,thetrialcourtmustconductabalancingtestbeforeorderingdisclosure.'').
          Thiscarefulbalancingbetween theneedforthediscoveryandtheFirstAmenbment
   chilling effectthe discoverywillhaveisparticularly criticalin circum stanceslikethisone,where

   the discovery isaim ed squarely atchillingptp/f/fcl/spéech and association on the Internet. A s

   theNorthernDistrictofCalifomiaobserved almosttwo.decadesago ligpqeoplewhohave
   Com m ittednowrong should be ableto participate online withoutfearthatsomeone who

                                                  16
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    wishesto harass or embarrass them can file afrivolous lawsuit and thereby gain the power
'
    of the court's order to discover their identity.'' Columbia Ins.Co.v.Seescandy com,185

    F.R.D.573,578(N.D.Cal.1999).
           Here,PlaintiffsareseekingpersonallyidentifyinginftrmationaboutMovant,asw6llas
    likely thousandsofothersofindividuals,through itsRequests.Asissetforth in Section 11

    supra,the Tw itter subpoena seeksa11inform ation associated w ith M ovant'sTw itteraccpunt,

    which includesM okant'susernam e,location,em ailaddress,phonenumber,and al1non-public

    directm essagssassociated with M ovant'saccotmt. Thisinformation madebeusedto reveql

    M ovant'spersonalidentity.TheGodaddyanddloudflaresubpoenasseektheIP addressesand
    löcationsfrom wllich M ovantvisited certain websites,and theM AC addrejsesofwhatever

    m achinesM ovantmay havetlsed duringthosevisits-infonnation thatprovidesadditional

    infbrmation usef'ulto revealing M ovant'sidentity including information,potentially,about

    M ovant'slocation,employer(inthecaseofaBusiness1è domain)oruniversity(inthecaseofa
    University IP domain).
           The consequencesforpefsonalidentification would be severe,forM ovant,aswellasfor

    allthe otherinnocentthird partiessweptup in Plaintiffs'proposed dragnet. Far-rightpolitic,
                                                                     .
                                                                                             s are

    deeply unpopularin theUnited States,earning the stèpportofonly 1.0% ofA m ericans. See

    http
       '://abcnews.go.coe politics/z8-approve-tx mps-response-charlottesyille-

    pol1/story?id=49334079. M embersofthefarrightwho are ''doxed''3quickly find them selves




    3Seehttps://en.wikipedia.
                            orc/wiki/Doxinc(definingdoxingastherevelatiohofaperson's
    anonymousonlineidentity).
                                                  17
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   tlllemployable4, divorced ordisowned bytheirfamiliess, facing callsforexpulsion from school6,

   àndthevictimsofphysicalassault7.Indeed,theextra-judiciilpunishmentmetedouttopeople
   forholding far-rightview shasbecome so normalizedthattheNew York Timeseven ran An

   articleseriouslyasking''IsitOK topunch aNazi(sicj''8.
           The coflàtittztionalprivilegeto remain anonym ouscertainlyhaslim its.Forexample,it

   may notbeused to shield anonym ousinternetusersfrom liability fortortiousactssuch as

   defnm ation. Colum bia Ins.Co.,185 F.RD .at587. H ow ever,Plaintiffshave notand cnnnot
                                                                                  .




   makeany showingihatthemanythousandjofInternetusefstargetedbythesubpoenasare
   engagedintortiousactivitymerelybecausethe#havesometenuot!sonlineassociationwitha
   named Defendantoralleged co-conspirator. Rather,Plaintiffsaresimply using thediscovery
                            '                    .
       '
       .                                                          '       ,
   .

   powertouncovertheidentitiesofpeoplewho m ay havem ade statementswith which they

   disagreeorassqciatew ith peoplewhom they dislike.This,the Constitution doesnotpennit,and

   accordingly,courtsevaluating attemptstounmask anonym ous speakers in cases similarto the

   ones athand have adopted standards thatbalance oneperson'srightto speak anpnym ously

   with alitigant'slegitim àteneedto pursueaclaim .

           A n instfuctive case suggesting properFirstA m endm entrestrictions upon a litigant's

   ability tocompelan ontine service provider to revealan anonymous non-party's identity
                                                          .   %       ,




   4Seehdp://- .foxnews.coe us/zol8/ol/o6/m o lu d-substitute-teacher-sred-aAer-alt-richt-
   views-discovered-by-students.html
   5seehups://- .dailvdot.coe layer8/pete-tefA-father-leûer-to-the-editor/
   6 See hlp://-    .new sw eek.coe universitv-nebraska-w ont-expel-student-w ho-boasted-beinz-
   m ost-active-white-8oz7zo
   1Seehttps://w ww.cnn.com /zol7/ol/zo/politics/white-nationalist-richard-spencer-
   DIm ched/index.htinl.                                         '
   8See hûps://-     .ng im és.coY zol7/ol/zl/ùs/politics/richrd-spencer-pu ched-adack.html '
                                                     18
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   is Doev.ztheM art.comg, supra,in which the W estern Distrid of W ashington adopted a

   fotlr-parttestforprotecting anonymousspeakers. Thistesthasbeen followed by cottrts around

   the countrylo, and itshouldbeadopted here.Underthe ztheM artfram ework,in orderforthe

   litigantto obtain the anonym ousnon-party'sidentity,hemustshow :

         (1)thesubpoena'seekingtheinformationwasissuedingoodfaithandnotforany
             im properpurpose,
         (2)thèinformationsoughtrelatestoacoreclaim ordefense,
         (3)theidentifyinginformation isdirectlyandmaterigllyrelevanttothatclaim ordefense,
             and
         (4)information sufficient to establish or to disprove that claim or defenseis
                                                         '
             unavailablefrom any othersource.            .




   ztheM art.com,140 F.Supp.2d at1095.In settingforth thetest,theztheM artcom courtwarned

   thatGlnon-party disclosureisonly appropri>tein the exceptionalcase wherethecompelling need

   forthe discovery soughtoutweighsthe FirstAm endm entrightsofthe anonym ousspeaken''1d.

          W hileztheM artcom providesausefulframework,othercourtshave'setthebarfar

   higher. In considering arequesttounmasked anonymousspeakersengaged in politicalspeéch,

   theDelaweeSupremeCourtinDoev.Cahill,884A.2d451(Del.2005)requiredplaintiffstobe
   ableto surviveahypotheticalmotionforsummaryjudgmentandgive,orattemptto give,'notice
   toeach anonymousspeakerto objectbeforediscoveringtheanonymousspeaker'sidentity.1d.at
   461. The 9th Circuit,and othercourts,have noted thatCahill'sm ore exactiùg requirem entsare

   appropriate in circum stan'ces such as thisone, wheretheanonym ousspeakersarrengaged in

   politicalspeech.lnreAnonymousOnlineSpeakers,661F.3d 1168,1176-77(9thCir.2011);

   9Cited w ith approvalby this Court's sistercourtin Taylor'v. John D oes 1-10,N o.4:13-CV-218-
   F,2014W L 1870733,at/2 (E.D.N.C.May 8,2014).
   10See, e.g.,Enterlinev.PoconoM edicalCenter,751F.Supp.2d782,787(M .D.Pa.2008);
   Mobilisa,lnc.v.Doe,170P.3d712,719(Ariz.App.2007).
                                                19
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   Taylorj2014W L 1870733at*2(''ThedegreeofFirstAmendmentprotection affordedthe
   particularspeech atissue shouldbeadriving forcein choosing ajtandard by which to balance

   therightsofanonymöu
                     'sspeakers(withtherightsofaggrieved.partiesl.'')(internalquotatioh
   omitted).W hicheverstandardtheCourtselects,eitherCahill'sstricterstandard,orztheMart'
                                                                                       s
   m oreperm issive one,Plaintiffsfailto meetit.
                                           .)                                             .

                  c. Plaintiffs C annot M ake Thç Show ing R equired U nder The ztheM art
                  Fram ew ork.

                     i. The SubpoenasA re B roughtFor A n Im proper Purpose.

          Plaintiffs'subpoenashavenoibeen issued forthepurposeofbuilding a caseto redress

   thewrongssufferedbythePlaintiffsatCharlottesvilleonAugust12,2017.Rather,the.goalof
   these subpoenasisto chillfar-rightspeech and association by pùblicly identifying,sham ing and

   blacklistingânyonewhoeventangèntiallyassociatesthemselveswithfar-rightpolitics.Theend
   gam eissimple-to identify anyonewho hasevercomm unicatedwith,aboutorconsumed

   contentproduced by anàm ed drfendantoralleged co-conspirator,orotherlike-m inded people,

   in an evergrowing dragnet,and then oncethey havebeen identified,tom akea1lthosqpeople

   unemployable,todestroythetrfnmilyrelationsandtocastthem outofpolitesocietyforever.
   Thishasbeenafavoredtacticusedbythepowerfultocrushpoliticaléissidents.ItFasthetactic
   used dtlring the Red Scare ofthe 1950s;itw asthe tactic attem pted againstorganizations likethe




                                                   20
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   NA ACPII5 theBladk Panthers'lzalldvariousenvironmentaladvocacy and labororganizationsl3:

   and itisthe snm etacticbeing used here.

          W eknow thisfortwo reasons.First,the scopeofthesubpoenaRequestsgoeswçll

   beyond whatwpuldberequired to supportPlaintiffs'claim s.Thegravam en ofPlaintiffs'caseis

   thatovertw o dozen individuals afld organizations conspired to incite violence atthe A ugust 12,*

   2017 Unite the R ightrally. In view ofthattheory,discovery directed to the com m unicationsof

   thoseihdividualsmightbeappropriate,dependingonthesubjectmatterofthose
   comm unicatitms.Butthe subpoenasgow ellbeyond that.Thesubpoenasseek identifying

   infonnationandcommunicationsfrom untoldthousandsofpeoplewhoseonlyoffensemayhave
   been to beone ofDefendantRichard Spencer's80,000 Twitterfolloweis,ortohaveread an
                                   f
   irreverentand satiricalarticleatThe Daily Storm er,ortohavelistened toa moviereview

   Podcastl4or>cooking podcastlson ThelkightStuffwebsite. Thebreadth ofthesubpoena
                                                          .




   Requeststhem selvesindicatesthatthçsubpoenashavenotbeen issued in good faith.

          Second,wéknow thatthesub-
                                  poenasareissued foran improperpurpose,becausecounsel
   forPlaintiffshavesaid asm uch. On Febrqary 10,2018,forexnmple,leadcounselforPlaintiffs,

   RobertaKaplanretweetedaquotefrom detendantMatthew Heimbachl6' andasiedherTwitter
                            .




   11SeeNM CP v. StateofAlabamacxrql.Patterson,357U.
                                                   S.449,460-66(1958)(overturnjng
   stateCourtorderrequiringproductionoftheNAACP'Smembershiplist.)
   12SeeBlackpanther'Jr@ v.Smith,661F.2d 1243,1267-68(D.U.Cir.1981)(upholding
 / litigant'
           srefusaltoprpducemembership listinresponsetodiscoveryrequest).
   13 See, e.
            g.,MarforkCoalCo.v.Smith,274F.R.D.193,205,2011W L 1044496(S.D.W .Va.
   2011)(denyingdiscoveryrequestdirectedtodefendantenvirùnmentaladvocacyorganization's
   memberlist).                             ,
   14 See e.g.,h/pj://therightsmff.biz/zol8/oz/l3/the-poz-buûon-43-outlaw-l
                                                                          'osev'-wales/
   15see e.g.,hups://therightsmf.bifzol8/oz/l3/the-white-iour-hour-episode-7-iko-iko-iko/
   16Jtisworth notingthathad M s.Kaplan retweeted atweetdirectly f'  rom M r.Heim bach'sown
   apparenttwitteraccount,@ Matthewl-leimbach,betweenJtme1,2017andAugust19,2017,even
   tocriticizeMr.fleimbachinthismarmer;M s.Kaplanwouldbeclassifedasa''SecondaryUker''
                                                  21
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                                 '

   followersto fund theinstantsuitto ''estéblish thatthisisnotacceptable''.Thetweetl7ispictured

   below :

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        ,'jvy) Robbie Kaplan @ kaplanrobbie.Feb 10
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                    supremacistsand establish thatthisisnotacceptable.@ lnteglitvf
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                    @ KaplanAndco
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                      Adam Sherm an @ adam shermanesq
                      ''M atthew Heim bach,anotherdefendant,says,'Ofcourse we Iook up to men
                      like AdolfHitlenl''                            '

                      thehill-com/opinion/civil-
                                               '.-.

                     Q           I.
                                  Q 6         (7 44

   In the quôte,M r.Heimbach appearsjo expresssome admiration forAdolfHitler-a sentim ent

   with which virtually a1lpeoplewould disagree.Butitisnottheproperpurposeoflitigation,or

   discoveryrequeytsselweèlinconnectionwith l'
                                             itigatitm,torendercertainopinions,however
   unpopular,''unacceptable''. Butaccordingto Plaintiffs'counsel,thatisthegoalofthislawsuit:to

   regulatethe expression ofunpopularpoliticalopinionslikeM r.Heim bach's.M s.Kàplan'spublic

   admissioncompelstheeonctusionthesubjçctdiscoveryisbroughtfo<animproperpurpose.
                 W orse'still,on February 14,2018,M s.Kaplan sentoutatweetlFto herfollowers

   referencingco-counselBoiesSchillerandthislitigation.Thetweetcontainedanimajeofa
   protestsign reading ''M akeRacistsAfraid Again.''Thetweetispictured beloF:




   underthe Twittersubpoena,and herentireTwittertim elineand'directm essageinbox wouldbe
   subjecttoprodùction.See226-2at4-5& 9.
   17Seehûps://M der.coA apla<obbie/sta>s/l62306337655939074
   18Seehttps://twitter.coV kap1nnrobbie/st
                                          atus/963922141866549248
                                                      22
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                          '.Q.                                .
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                       x ê' Robbl
                                e Kaplan
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                              :.,.                                                                                                                                               Fojlow                  w'
                       .
                          ).                   gkaplanrobbpe

                  So proud ofihe work @ KaplanAhdco &
                  @ Boiesschillerhave been doing on this
                  Iaw suit,with thè help of @ lntegrityforusA.
                  W e have aIlrec:ived sbm e really hateful
                  tw eets in pastseveraldays,but thatw illnot
                  dissuade psfrom gettingjgsticeforour
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                  j TheCllarlottesvilleIawsultthatcouldtakèdownthealt-right                                                                                                                               i
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   Now,had any oneofthenam ed individualDefendantsretweeted am essage like''M ake

   (W hicheverGrouplAfraidAgain''thatwouldhavebeenpresentedasevidenceinPlaintiffs'
   Complaintforaconspiracyto incite violence againstthe mentioned group. Even ifone

   charitably assumesthatPlaintiffs'counsel'stweetisnotathreatofphysicalviolenceagainst

   AmericanswhosharethepoliticalandculiuralbeliefsoftheDefendants,itstillrevealsthattllis


                                                                                                                          23
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   litigation,and particulazly thisdiscovery,isbroughtforan improperpurpose.Theunmistakable

   m essageofPlaintiffs'counsel'stweetisthatthegoalofthiscpseisnotto makethe Plaintiffs'

   whole,butrather,tolhake''racists''afraid.Thesubjectdubpoenasarethefirststepinthat
   process-thefirststageofa sweeping pogrom calculatedto sow fearin thousandsofpeoplewho

   stand atrisk atbeing doxed,and havingtheirlivesruined fordoing nothing morethan ehgaging

   in politicaldebate,orreading right-of-centerpoliticaland culm ralcontenton theIntem et.

          Thislaw suit'jtruegoalsarenotam ystery to theinterested public.M s.Kaplan recently

   sp0keto'theNew YorltTimesabouttheinstantsuitlg. AftertalldngwithM s.Kaplml,theauthor
   oftheTimespie'ce,AlanFeuer,wasleftwiththeimpressionthat''gdqiscoveryin (thisjcasemay
   also expose the linksbetween the far-rightgroups ahd theiroften opaque sources offinallcing.''

   Theleft-of-centerpoliticalblog TheDaily Kos,in thearticleretweeted by M s.Kaplan above,'

   wentfatther,saying''gijfRobertaKaplan'slawsuitsucceeds...thealt-right'sf'undingstreamsand
   stnzctureswillbeexposed.''Butassociating with far-rightgroupsorfnancingthem isnot

   illegal,and discovery aimedatshutting down such activities,such astllisdiscovery,isimproper.

                     ii. TheInform ation SoughtBy The SllbpoenasDoesNotR elateTo A Core
                         Claim And TheIdentifyingInformation IsNotDirectly OrM aterially
                         RelevantTo A Claim .

          In orderforPlaintiffsto obtain identifyingthird party information,they m ustshow that

   theinformation requbstedrelatesto a coreclaim ordefenseand thattheidentity information is

   directly and m aterialrelevantto thatclaim or defense. See ztheM art.com,140 F.Slpp.2d
              .




   at 1096. Plaintiffscannotm ake this show ing. Itisim possible to say w ith precision how m any

   individualsstandto havetheiranonymousdataand comm unicationsdiszlosedunderthe



   19seehlps://-     .ngim es.coe zol8/oz/lz/us/charloûesville-lawsuii-far-richt-heather-
   hever.htm l
                                                 24
'



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                                                         .                                               '
    x




                            subpoenas,butforperspective,theTwittersubpoena seeksallaccotmtinforlhation foranyone

                            who replied to orretweeted a ''Prim ary User''Twitteraccountbetween June 12017 and August

                            19,2017,and foranyonewho responded to orretweeted thosepeople'stw eets.Doc.226-2 at4-

                            5& 9andseeSectionII(A)(1)supra.PrimaryUser@ RichardBspencercurrentlyhasabout
                            80000followerszo PrimaryUser@ DrDavidDukecurrentlyhasabout50,000followerszl                       ,
                            PrimaryUser@ ldentityEvropactlrrentlyhasabout27,000followerszz.Thosefollowerssee
                            every tweetoriginatingfrom theaccptmtsthey follow,and arein aposition toeasily respondto

                            thosetweets,orretweetthem ,which createsa ''com mtmication'',which identifiesa''Secondary
                        '
                            Account''undertheTwittersubpoena.Doc.226-2at5.Andtheexamplesabovearejustthree                         '
                            ofthetwenty-fourPrim ary Useraccountsm entioned in theTwittersubpoena.1d.Theweb of

                    .
                            ''Sec
                              ê'
                                 ondary
                                      '''
                                          Users''forwhich theTwittersubpoen>séeksaccountinfondation islikely in the
                                                                     ,



                            high tensofthousands,ifnotmorethan onèhtmdred thousand.Ahd each ofthoseaccountsis

    .
        '                   likelytohavegeneratedthousandsoftweetsanddirectmessagesduringitshistory,allo?which
                                   '                                         '           '
                                                                                                                 .
                                                    ''
                ,

                            aresoughtbytheTwittersubpoena.1d.at4-5(defining''account''toincludçtimeline(i.e.,a11
                            tweetssentbyorpostrdtotheaccount)anddirectmessagesassociatedFith thçaccount).The
                    '
                            ntunberofindividualtweetsorm essagesresponsiveto the Twittersubpoenaprobably nmsinto
                                                                                                             '                    '
                                            .                .                                       .
                                                                 .                                       .


                            the hundredsofthousands,ifnotmilliöns.                                                   '

                                   TheRequestsfortiaftk logsunderthe Cloudflareand Godaddy subpoenas,ihcluding the

                            IP and M AC addressesforevery visitor,are sim ilarly staggeringly overbroad.W hileM ovant
                                                                                     '                                .
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                                                                                             '
                                                                                 p

            .               doesnotknow thevolumeofintem ettrafficreceivedatThebaily Stolnner,'Altltightcom orThe
                            RightStuff,Thom psJ.M ain,professorattheAustin W .M arxe SchoolofPublicand                    '


                            20 Séehttps://twitter.com /RichardBspencer
                             .                                                                                            '
                            21See hûps://twiler.copr rDavidDuke
                            22seehttps://twider.coo ldentityEvropa                               '           '
                                                                         25
.                                               ;                        '
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   IntemationalAffiirsofBaruchCollege,CityUniversityofNew Yorkm itingfortheLos
   AngelesTim esestim ated thatTheDaily Stonnerreceived 997,000 visitjand 284,000unique
   visitprsbetw een Septem ber2016 to M ay 201723. Thisisarateofabout3,600visitorsaday (and

   '
   abOl1t1,000uniquevisitorsaday),whichwouldtranslateinto69,000visitorsoraboui19,000
   tmiquevisitorsdtlringthe 19 day timeperiod24forwhich TheDaily Storm ertrafficlogsare

   sought.Considering theotherwebsitesforwhich trafficlogsaresought,Plaintiffsareseeking to

   uncovertheIP addresses,M AC addressandloèationsoftensofthpusahdsofpeople.
          Thechancesare.nearzerothata1lthisinformati
                                              .    on,orevenafracttonofapercentofit,is
   inanywayrelevanttoPlaintiffs'ctaims.much lessdirectly andmateriallyrelevanttothose
   claim s,orrelevantto a core claim .        .

                         iii.   PlaintiffsHaveM adeNo ShoW ing thattheInform ation Sought
                                Is U navàilable from A ny O ther Source.

          ln orderforPlaintiffsio receivetheRequested third party infonnation,theym ustshow

   thattttheinfonnation gplaintiffs)needgjtoestablish itsdefenseisunavailablefrom anyother
   source.'' SeeztheM artcom,140F.Supp.2d at1097. They cannotdo so.

          ThegravnmenofPtaintiffs'caseisthatovertwodozenindividualsand organizations
   conspired to incitekiolenceattheAugust12,2017 United theRightrally.IfPlaintiffswantto

   understandthe scopeoftheirall:gèd conspiracy,thefocusshould beon theparty Defendants,

   through conventionalparty discovery,and thatfocusshould bekeptsquarely on party

   com m unications to édvancethe allèged conspiracy. To the extentthatreleyantparty

   com m unications involve non-parties,then Plaintiffsm ay have cause to seek further,targeted

   discovery relatingto those non-parties,andm aybe even addthosenon-partfesto thecase.But


   23hup://- .latim es.coe opM oi op-ed/la-oe-m ain-alt-right-audience-zol7o8zz-story.html
   24 See D oc. 226-3 at7.
                                                  26
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      theFirstAmendment'srightto speak anonymously preventsPlaintifffrom hoovering uppersonal

      identifyinginformationonthousandspfirmocentindividualsinpursuitoftheircase.èlaintiffs
      cannotsatisfy the ztheM art.colntest,andtheirsubpoenasmustbequashedbecausethey violate

      M ovant's FirstA m endm entrightto anonym ity.
                                     '
         .




                    2.     The SubpoenasViolateM ovant'sFirstAm endm entRightto
                    A ssociation


             Plaintiffs' subpoenas trnm mel upon the M ovant's constitutionally guaranteed

  .   rightto association.Thisalonerequiresthatthesubpqenasbe quashed in theirentirety.

                    a. M ovant H as A First A m endm ent R ight To 'A nonym ous Political
                    A ssociation A nd T o A nonym ously A dvocate Fér C ontroversial V iew s In
                    A ssociation W ith O thers.


             The FirstAmendm entprotectsthè freedom to associate an'd expresspoliticalviews as a

      group.NM CP v.Alabama,357U .S.at460-62.Thisrightisintertwinedwiththerightto'freqdom
  '
      ofexpressiop,and (çlike free speech,lies atthe fotmdation ofafree society.'' Buckley v.Valeo,

      424 U.S.1,25 (1976)(quotingShelton v.Tucker,364 U.S.479,486 (1960)(internalquotation
      omittedl).Thisconstittztionalprotection iscriticalbecauseGûlejffectiveadvocacy ofboth public
      and private points of view,particularly controversial ones,is tmdeniably enhanced by gm up

      associationl.l''NAACP v.Alabama,357U.S.at460;Batesv.City ofLittleRock,361U.S.516,
                '

      522-23(1960)(the(bonstittztionprotrctsfreedom ofassociationtoencouragethetçadvancingideas
      and airing grievances''). A s is setforth in M oyant's declaration,M ovantuses Intem etforum s
      targeted by the subpoenas,including Twitter and The RightStuffwebsite,to engage in online

      politicalactivism and advocacy in concertwith like-m inded individuals - precisely the sol'
                                                                                                tof

      activity attheheartoftheFirstAm endm ent'sprotections.


                                                   27
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              The Suprem eCourthasrepeatedly held thatcompelled disclosureofan advocacy group's

       mem bership listshannsfreedom ofassociation becauseçsitm ayinducem embersto withdraw from  .




       the association and dissuadeothersfrom joi
                                                .ning itbecauseoffearofexposureoftheirbeliefs
       shown tllrough theirassociationsandofthecbnsequencesoftheirexposure.'?NAACP v.Alabama,
                                                                                              A
       357 U .S.at462-63.See also Bates,361U.S.at523;Gibson v.Florida LegislativeInvestigation

       Comm.,372U.S.539(1963).Thisruleapplieswith equalforcetoattemptstocompeldisclosure
       ofinformation usableto revealM ovant'sidentity here.

              Anonymity in one's associational ties is closely linked to freedom oi-association,
       particularly where,as here,individuals associate to advocate dissidentviews:ççlnviolability of
                .




       privacy in group associatipn m ay in m any circum stances be indispensibleto presçrvation of

       freedom of assbciation, particularly where a group espouses diksident beliefs.'' NAACP v.

       Alabama, 357 U .S.at 462. H ere,Plaintiffs seek allnon-public dired m essages associated with

       M ovant'sTwitteraccount(aswellastheTwitteraccotmtsofuntol
                                                               .dthousandsöfothers),including
       directm essagesexchanged with Twitteraccountswith which M ovantassociatesforthe purpose

       ofpöliticalactivism and advocacy.Plaintiffsalsoseek a1lotherdataassociatedwith thoseTwitter

       accounts,includingM ovanfs,indudingnon-publicemailaddresses,location data,andtelephone
       numberszs-informationthatispotentiallypersonally identifying. Plaintiffsalso seek IP addresses

       andM AC addressesin trafficlogsforwebsitesvisited byM ovant,which dataisusableto notonly

       identifyM ovantapd the ISP'SM ovantuses,butisalsousabletom ap M ovant'slocation overtim e.
       Su'ch locatibn data includes a w ealth of details uboutone'shabits and day-to-day patterns,which
                                '
.
       are intim ately tied to one's associational activities. United States v..Jones, 132 S. Ct. 945,



       25see D oc. 226-2 at4-5,seeking a1laccountdataand hûps:/lelp.twiûer.coe eim r acinc-your-
       accou t#useonme-emailuand-phone(showingthatemailandtelephonedataaretypically
       ajsociatedwithTwitteraccounts).
                                                     28
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                                                                    '

   954 (2012)(Sotomayor,J.,concuning)(continuallocation monitoring overaprolongectperiod
   Ssreflectsawealth of detail abopt (a perion's) faldilial,political;professional,religious,and
   sexualassociations.'').AstheD.C.Circuithasnoted,suchobservation ofaperson'smovements
          revealstypesofinfonnation notrevealed by short-term smweillance,such as what
          apeison doesrepeatedly,whathedoesnotdo,and whathedoesensemble....A
          per'
             son who knows al1 of anpther's travels cah deduce whether he'is a weekly
          church goer,aheavy drinker,aregularatthe gym ,an unfaithfulhusband,an'
          outpatient receiving m ddical treatm ent,an associate of particularindividuals or
          politicalgroùps- andnotjustonesuchfactaboutaperson,buta1lsuch facts.
    UnitedStatesv.Maynar4 615F.3d544,562 (D.C.Cir.2010),aff'dsubnom.Jones,

    132 S.Ct.945.

          Plaintiffs'othersubpoenasareaim ed squarely atidentifying and m apping the

    m ovem entsofindividualsinvolved in politicalexpression and association'
                                                                           .specifically,

    politicalexpression on issuesofraceandidentity.TheCourt(afldindeedtheaverage'

    Xmerican)maywelldisagreewiththesubstanceofthisexpression andthegoalsof

    assbdattonsofindividualsengaged in it.Nevertheless,M ovant,and idçologicalfellow

    travelers.have arichtto Gtencacein association fortheadvancementofbeliefsand

    ideas,''anddiscoverytendingtochillthatassociation isthereforesubjecttoheightened

    scrutihy.AWWC/ v.Alabama,?57U.S.at460k

                  b.     'M ovantHasA QualifiedFirstXmendmentPrivilegeIn Associational
                         Privacy R equiring A H eightened Showing OfRelevanceTo,
                         O vercom e.
          ''TheFirstAmendmentgjestablishestherighttoassociatewith othersandorganizein
   protest... Itappliesin thecontextofdiscovery asaqualifiedprivilege agaipstdisclosure of
   inform ation w hen the party'
                               asserting the privilege dem onstratesthatthe disclosure w ould likely

                                                  29
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   impairtheassociationalactivitiesofthegroup.''MarforkCoalCo.v.Smith,274F.R.D.193,
   205,2011W L t044496(S.D.W .Va.2011)(denyingdiscoveryrequest-directedtodefendant
   environmentaladvocacyorganization'smemberlist);NAACP v.Alabama,?57U.S.at460-63;
   Perry,591F.3d at1140;In re M otor FuelTemperature Sales Practices Litig.,641 F.3d 470,

   481 (10th Cir.2011)(FirstAmendmentprivilege protectsrights of association affected by
   civildiscoverydemands).W hen discovery requests infringe upon political expression and
   association,the courts apply heightened discovery standardsto protectthoje constitutional

   values.Perry,591F.3dat1140;Feé Election Cop;/a'n v.Làrouche Campaign,817F.2d 233,

   234-35 (2d Cir.1987)(requiring agencytodemonstrateneedbeyondmererelevancetoan
   investigàtiontojustifycompellingdisclosureofthenamesofcampaigncontributors).
          The Supreme Courthas pade clear that infringements on freedom of association m ay

   sulwive constitutional scrutiny only when they ddsel've .compelling state interests,tmrelated to

   thesuppression of ideas,that cannot be achieved through m eans significantly less restrictive

   ofassociationalfreedoms.''Roberts v.United States Jaycees,468 U.S.609,623 (1984);see
   alsoNAACP v. Button,371 U .S.at 341;Knox v.SEIIJ Local 1000, 132 S.Ct.2277,2291

   (2012)(burden on freedom ofassociation çimustserve a'compelling interestand mustnotbo
   significahtlybp aderthannecessaryto servethatintemst.'').
          To make aprim a facie showing thatthe privilege applies,aparty m ustGçdemonstrate an

   objectivelyreasonableprobabilitythatcompelleddisclosurewillchillassociationalrights,i.e.,that
   disclosure willdeterm emhership due to fears ofthreats,harassm ent,orreprisal...which m ay
   affectmemàers'physicalwellbeing,politicalactivitiesoreconomicinterests.''InreMotorFuel,
   707F.Supp.at1153. ''Todemonstratean objectivelyreasonableprobabilityofachillingeffect,
   the party asserting the privilege does notneed ttiprove to a certainty thatdisclosure w illresultin


                                                   30
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   '

               '

   chilling.Instead,thepartyjneedonlyshow thatthereissomejrobabilitythatdisclosurewi
                                                                                  '
                                                                                    llleadt
   to a chilling effect-'' Pulte Hqme Corp.v.M ontgomery Country M aryland,N0.0.
                                                                               11-1-14-3955,

   2017W L 1104670at*4(D.M arylandM arch24,2017)tuotingBlackPantherplr/y,661F.2dat
       1268. Declarationsaresufficientto m akethisshowing.Perry,591F.3d at1143.

                      1.       There IsA H igh Probability ThatM ovant's A ssociationalR ights W ill
                               BeCurtaiiedByTheRequested Discovery.

              AsM ovant'sdeclaration filed with.
                                               thism otion dçm onstrates,the disclosureofM ovan't's

       identity, M ovantjs non-public com
                                       ' m unications,and M ovant's association w ith the ''alt-ri.
                                                                                                  ght''and'

       rightwing ideasand peopleislikely to resultin harasjm ent,M ovant'swithdrawalfrom right

       wingonlineadvocacyandactivism,andachillingoi-Movant'spoliticalexpression.Doe.Decl.
       at:14.Theseimpactswillalsolikelybefeltbythethousandjofotherindividualswhose
       personaldataistargetedbyPlaintiffs'subpoenas.AsisdiscussedinIV(A)(1)(b)supra,being
       ''doxed''as''alt-right''hasseverepersonaland professionalconsequences,up to and including

       risk ofphysicalassault.Even withoutthese sortsofsevere consequencçs,theassociational

       chilling effectofcompelled disclosureofpeponalinform ation isam atterof''comm on sense''.

       AsM agistrateJudgeSullivannotedjustlastyearinPulteHomeCorp.,
              Ifaperson know sthathercomm unicationswillbedisclosed to an unintended
              audience in the future,shemay bemore cautiousin herstatementsorrefrain from
                           .

              speaking entirely. In the sam eway,aperson who belongsto agroup thatis
              required to discloseitsinternàlcomm unicationsin civillitigation may decidethat
              theinvasivenessofthe disclosurè outweighsthebenefitofbelongingto or
              participating in the group.

       Pulte H om e Corp.,2017 W L 1104670 at *8.

               A nd again,the goalofthisentire law suit,from the standpointofPlaintiffs'cotm selat

       least,istb''makeracistsafraidagain.''See1V(A)(1)(c)(i)supra.Plaintiffj'cnnnotnow beheard .
       to say thattheir efforts in spreading fearam ong 'racists''are notlikely to be successful.

                                                       31
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   Accordingly,M ovanthasmadeaprimafacie showing productionofthedatasoughtby
   Plaintiffs'subpoepaswillchillM ovant'sand others'constitutionally proteited associational

   rights.

                    :l.    Plaintiffs CannotM eetT heH eightened Show ing O fR elevance
                           Requiked t'oOvercomeM ovant'sFirstAmendmentPrivilegeIn
                           Private Associations.

             Oncemovanthasestablishedtheriskofchillingofassociationalrijhts,theburdenthen
   shiftstothediscoveryproponentto show thatthe discovery isproper.SeePulteHomeCorp.,

   2017 W L 1104670 at*4. InPulteHomeCorp.,thecourtconsidered theproperbalancing testto

   apply when weighing discoveryrequestsdirected atnon-parties,which wçrelikely to chill

   associationalrights.M agistrateJudge Sullivan synthesizedthevariousarticulationsofthe

   balancingtestfound inGrandbouche,Perry,BlackPantherptzr/y andMarforkintoafourfactor
   test,which considers'
                       .

           1.      TherelevM ceoftheinfonnation soughtand whetheritisofcentralorcrtzcial
   im portance to the case;                 .

           2.     Thenecessity oftheinformation soughtandwhetheritissoughtforimproper
   ulteriorniotives;                          '

             3.     Theavailability oftheinformatiorifrom alternativb sources,and

                    Thesubstantiality oftheFirstAmendm entinterestsatstake.

   PulteHomeCorp.,2917 W L 1104670 at*9 citingPerrysGrandboucheand TheBlackPanther

   pcr@.
             The Courtshould apply thisarticulation ofthe balancing testhere. U nderthis test,itis

   clearthatPlaintiffs'camlotshow entitlementtotherequesteddiscovery.Asissetfortisuprain

   sectionlV(A)(1)(c)(ii),theinformatioù sought,consideringthebreadthofthesubpoenas,isnot
   cnzcialorcentralto Plaintiffs'case,w hich is thatthe nam ed D efendants'conspired to incite


                                                   32
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      violenceatCharlottesville.AsissetforthsuprainsectionIV(A)(1)(c)(i),thesubpoenasarenot
      m otivated bytheirnecessity toPlaintiffs'case,butrather,by an improperand ulteriorm otive-to

      discolzragepoliticalspeech and association am ong.the ''alt-right''.Asissetforth suprain section
             '             6                                                            .



      1V(A)(1)(c)(iii),thediscoverythatisactuallyrelevanttoPlaintiffs'caseisavailabletlupugh
      conventionalparty discovery requestsdirected attheDefendants. Asto thesubstantiality ofthe

      FirstXmenbmentinterestsatstake,whatisatstakeisthechillingofpoliticalassociationand
      Politicalspeechnmongdissidentsbysubjectingindividualstoiossofemployment,loss offnm ilyx




      tiesand possiblephysicalassault.TheFirstAmendmentinterestshere couldnotbem ore

      fundam ental. Plaintiffs'rçquestsfailthrbalancingtçst,'andtheirsubpoenasshoul'
                                                                                   d be quashed

      in theire%ntirety.

                               TheHatreon SubpoenaM ustBeQuashed BecauseltTrammelsFirgt
                               A m endm entA ssociâtionalR ights.                               '
             The FirktAm endm entrightsto anonym ousassociation and speech discussed abovehave
                 .




  .   also bben fotmd toincludethe rightto anonym ously ftm dpoliticaladvocacy undercirctunstances

      similartothosehere.lnBrownv.SocialistWorkers'74CampaignComm.(Ohio),459U.S.87,

      101-02,(1982),theCourtfoundaFirstAmendmentexemptionfrom compliancewithstate

      requirçm entsto disclose politicalparty donorlists,becausetheparty w asa m inorone,and

      disclosureofitssupporierswouldsubjectth.em toprivateharassment. JusticeThurgood

      M arshall,writing forthe Cotu't,noted,

                     The FirstA m endm entprohibits a state from cohzpelling disclosuresby a
                     minôrpartythatFillsubject.thosçpeponsidentifiedtothereasonable
                     probability oftllreats,harassm entorreprisals.Such disclosureswould
                     infringetheFirstAmendmentrightsoftheparty'      anditsmem bersand
                     Supporters.                                    .


                                                     33
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    1d. Thisprinciplepreventsenforcem entoftheHatreon subpoùnazb, which isdirected to

    uncovering the al1com m unications w ith and identitiesofevery individualwho has

    donated m oney throtigh Hatreon to oneoftheDèfendantsor50 othtrindividuals. See

    Doc.226-5at9.Doxingtheseindividualswouldsubjectthem tosameso14ofprivate

    harassm entsuffered by pat'ty supportersin Brown,which im perm issibly interferesWith

    theirFirstAm endm entrightto association.

          B. TheTwitterand H atreon SubpoenasM ustBeOuashed Pursuantto 18
          U .S.C.42702(j0

                 '

          TheTwitterandHatreonsubpoenasseekelectroniccommunicationsV ldin storageby
   thosethird-parties.Specifically,RequestNo.tintheTwittersubpoenaseeksal1
   communicationsbetween and ainongPrimaryUsersand Secondary Usep,and RequestNo.6

   seeksidentifcation ofSecondary Useraccounts,where ''accounts''isdefned to includeall

   communièationsassociated with theaccount,even hon-public directmessages. Doc.226-2 at4-
   5 and 9.TheHatreon subpoena sim ilarly seekselectroniccomm unications. Doc.226-8 at8
                                 .




   (RequestNos.1& 3). ThesecommunicationscannotbeproduçedbyTwitterorHatreon
   ptlrsuantto federalstatute.

          TheStoredCommunicationsAct(18U.S.C.52701etseq.)prohibitsthereleaseofstored
   4lectroniccommlmicationsinresponsetoacivilsubpoena.Specifcally,18U.S.C.j2702(a)(1)


   26Ifthe Cpurtdetéym inesthatM ovantlacksstandingto challengetheHatreon subpöena,it

   shouldstillquashitsuasponte.SeçJefferson,2012W L 1150415,at*2;Newcomb.,2008W L
   3539520at*3(regardingthecourt'sinherentpowertosuaspontequash impropersubpoenas).

                                                 34
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            provides1çaperson orentity providingan electronic communication serviceto thepvblicshall

            notknowingly divulgeto any person orentity thecontentqofa comm unication while in

            electronic storageby thatservice''. Sim ilarprohibitionsagainstthereleàseofephemerally stored
.
            electroniccommunicationsaresetfol'
                                             thin j2702(a)(2).TwitterandHatreonmaybecivilly
            liableiftheycomplywiththeirsubpoenas. 18U.S.C.j2707(confening'standingon any                       '
            Sdsubscriber,orotherperson aggrievedby any violàtion ofthischapter''to bring aprivate action

            forviolationslz7.AsthisCotlrt'ssiàtercourthasnoted,theplainlanguageofj2702prohibits
            enforcem entofacivilsubpoenathatseekstheproductidn ofelectronically stored                                 '

            commtpications.InreSubpoenaDucesTecum toAOL,LLC,550F.supp.zd 606,611-612(X.D.
                                         .
                                                                           '         .                     .




    .
            Va.2008). Thus,thqTwitterandHatreonsubpoenasshouldbequaAhed onthisbasis,
                                   .
                                                       '



            independent'oftheconstitutionalissuesraised above.                      '

                   C.     Thè SubpoenasA re O verbroad.Burdensom e A nd D isproportionalA nd
        .
                   Should BeO uashed In TheirEntiretv

                   Constitutionalandstatutoryissuesaside,theoourtshouldquash a11foursubpoenas
            becausetheyviolatetheFederalRules.Fed.R.Civ.P.45(d)(3)(X)(iv)requiresacourttoquash
            asubpoenathat''subjectsapersontoundueburden''. ''A (third-party)subpoenaimposesan
            tmdueburdenonapartywhen asubpoenaisoverbroad.''InreSubpoenaDucesTecum toAOL,                           '

            fZC,550F.supp.zdat612citingTheofel,359F.3dat1071-72.Thus,apaçtyhasstandingto
            challengeathird-party subpoenathatisoverbroad,and therefore unduly burdensom e. A sa sister
                                                                o




            courthasnoted,''itisthepracticeandprecedentinthisdistrictthatpartiesenjoytherightto
            challengesubpoenasdirectedatthirdpartiesonthebasisofundueblzrden.InreSubpoenasfor
            DocumentsissuedtoThompsonMcM tillan,P.C.,No.CV 3:16-M C-1,2016W L 1071016,at*4

            27Indeed, Plaintiffsand thèircounselmay becivilly liableifTwitterand Hatreon comply with
            theirsubpoenas.SeeTheofelv.Farey-lones,359F.3d 1066,1079(9thCir.2004).
                                                           35
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       (E.D.Va.M ar;17,2016)citingSingletaryv.Sterling TransportCo.,Inc.,289F.R.D!237,239,
       240.
          n.2(E.D.Va.2012).Thisstandingshouldbeextendedtothird-paitiessuch asM ovant
       where,ashere,M ovant'spersonalinfonnation standsatrisk ofdisclosure.Indeed,thekules

       suggestasmuch.Rule26(c)pennitstheCourttoenteraprotectiveorderprotecting ''apartyor
       Person from annoyance,embarrassm ent,oppression,orundue.burden orexpense''. The ''person''

       ofRule26(c)canbeanyoneburdened,almoyed,embarrassedoröppressedbythediscovery.
       Accordingly,M ovanthaàstandingtoobjectto anoverbroad sùbpoenasrelatingtoM ovant's
       information,selwedonthirdpartiessuchasthosehere.SeelnreSubpoenasforDocuments
       lssued to ThompsonMcM ullan,2016W L 1071016,at*4(discussingtheinteplaybetween
       Rules45and26(b)andadoptinga''pragmaticapproach''tostandingto challengethirdparty
       subpoenas.)
:             W hethera subpoenaissued underRule45isoverbroad isdeterm ined according to the

       relevancystandardsofRule26(b).Ankerv.G.D.Searle(f7Co.,126F.R.D.515,
                                                                         .518(M .D.N.C.
       1989).But''giln thecontextofevaluàtingsubpoenasisstledtothirdpM ies,acoul't'willgive
       extraconsiderationtotheobjectionsofanon-party,nèn-factwitnessinweighinj
       burdensomenessversusrelevance.'''Schaafv.SmithKlineBeecham Corp.,233F.R.D.451,453
       (E.D.N.C.2005)quptingIndem.Ins.Co.ofN Am'.v.Am.EurocopterLLC,227F.R.D.421,426
       (M .D.N.C.ZOOS).Thisheightenedrelevancyrequirementrequiresthatthirdpartysubpoenasbe
       natw wly tailored to avoid sweeping up irrelevantinform ation.In granting am otionto quash

       thirdpartysubpoenasasoverbroadunderRule26(b),acourtintheEasternDistrictofVirgi/ia
       explained,

              Putanotherway,any gthirdpartyjsubpoenathatseeksevidencethatijneither
              relevantnorreasonably calculated to lead tothediscovery ofadmissibleevidence,
              orthatisso overbroad thatcom pliance w ith itsdem andsw illnecessarily require


                               )                    36
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            productionofirrelevantevidence,seeksevidenceoutsidethescogeofRule
            26(b)(1).

      InreSubpoenasforDocumentsIssuedtoThompsonMcMullan,2016W L 1071016,at*5.
                                  .                 œ'
                                                    '             '   .     '




      M otherEastem Districtcourtquashed athird-party subpoenaforparty emailcommùnications

      forbeiùgoverbroadbecauseitdidnotimposeparnmeterslimitingthesubpoena'sscopeto
      evidencerelevantin theunderlying lhigati6n:

             Similartothesubpoenain Theofel,StateFarm'ssubpoenamustbequashed
            becauseitim posesan undueburden on theRigsbysbybeing overbroad and
            requesting çtall''ofCoriRigsby'se-m ailsfora six-w eek period. Likethe
            subpoenain Theofel,StateFarm'ssubpoenaisoverbroadbecauseitdoesnotlimit
            thee-mailsrequestedtothosecontainingsubjectmatterrelevanttotheunderlying
            action orseiltto orf'
                                rom em ployees corm ected to the litigation,otherthan Cori
            Rigsby.                                                                   '

      InreSubpoenaDucesTecum toAOL,LLC,550F.Supp.2d606,612,2008W L 1956266(E.D.
      Va.2007).Theofelv.Farey-lones,359F.3d 1066,1071.
                                                     -72 (9thCir.2004)standsforasimilar
      proposition.ln thatcase,plaintiffscounselsenta subpoenato defendant'sem ailhost,

      demandingallofdefendant'semails,'withoutlimitingtiescopeofthesubpoenatemporally orto
      thesubjectmattèroftheunderlylnglitigation.Theofel,359F.3dat1071.Thedistrictcourtand
      thentheNinthCircuitroundly castigatedplaiptiffscounsel.1d.(çGonemighthavethought...thai
      thesubpoenawouldrequestonlye-mailrelatedtothesubjectmatterofthelitigation,ormaybe
      m essagessentduring somerelevanttimeperiod,oratthevery leastthosesentto orfrom

      employees'insomewayconnectedtothelitigation.').
             Plaintiffs'requests are dlearly overbroad,and therefpre unduly burdensom e,in view of
  '
      these standards. Asissetforth supra,theTwittersubpoena seekscomm uùicationsbetween and

      amotzgPrimaryandSecondaryUsers,onanysubjectwhatsoever,aswellasal1communications

      ipvolving SecondaryUsers(includingnon-publicdirectmessages)with anyparty,onany
      subject.TheSecondaryUsersarenotdefendantsinthislitigation,andprèbablynumberinthe
                                                    37
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      high tensofthouse ds. The Hatreon subpoenaseeksal1communicationsregarding donations

      from anyone to anyone on a listofovef50 non-D efendantindividuals. D oc.226-5 at4-5 .

      (defining''OtherltelevantIndividuals'').Thetrpfficlogssoughtfrom CloudflareandGodaddy
      will'includeIP and M AC addresgesforlikely tensofthousandsofpeople urlrelatedto this

      litigation. Thesubpoenasfailsto imposeparam eterslim iting theirscopeto evidepce relevantin

      thetmderlyinglitigation,andtheymustthereforebequashed.
                          '           .                                      .

             W hat'sm om,a11oftheopinionscited supra rtgardingtheheightenedrelevancy btlrden

      fQrthird party subpoenaswere decided in casesbroughtbeforetheproportionality requirem çnt

      wasaddedtonarrow thescopeofdiscoveryunderRule26(b).Undertheamendedrule,
      discoverableinfonnation m ustbeboth relevantand

             proportionalto theneedsofthe case,consideringtheimportance ofthe issuesat
             stake'in the actioh, the am otm tin controversy,the parties'relative access to '
                                                                                            .

             relevantinfonnation,theparties'reàources,theim portance ofthe discovery ih
             rejolving the issues,N d w hetherthe burden or expense ofthe proposed discovery
             outweighsitslikely benefit.                                        '


      Fed.R.Civ.P.26(b)(1).Thesubpoenasfailtheproportionalitytesttoo.Totheextentthatthere
      arerelevantneedlesburiedinthehaystack soughtbyPlaintiffs,theburdenofprg(juctkpyj
  '
      outweighsthebenefit,and thediscovery soughthaslittleimportancetothe issttesofthecase.

      Anditdifscultto seehow thisvoluminousdiscoveryisjustifedinview oftheimportanceofthe
      issuesatstakein thisactionz8.

             Altem atively oradditionally,theCourtshould enteraprotective orderptlrsuantto Fed.R.

      Civ.P.26(c)preventingenfbrcementorcompliancewiththesubpoenas.SeeBrownv.


      28w 1ai1eM ovantdoesnotwishtotrivializethephysicaloremotionalinjuriesofthePlaintiffs
      described in their com plaint,itisim portantto rem em berthatthis is nota w rongftlldeath suit.

                                                     38
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   Mountainview Cutters,LLC,No.7:15-CV-00204,2016W L 3045349,at.*2(W .D.Va.M ay27,
                     .            ;                  .


   2016)(findingthatapartylackingstandingtmderRule45toquash athirdparty subpoenamay
   stillchallengethesubpoerialmderRule26(b)andmceiveaprotectiveorderunderRule26(c).
   Forthereasonssetforth above,the Cot?rtshould enterapr'
                                                        otectiveorderpreventing enforcem ent

   orcom pliance with theseshortsofoverbroadthirdparty discovery requests,both now andinthe

   fm tu.e


             C O N CLU SIO N

             Thesubpoenas,and the lawsuiton which they are'
                                                          based,are aiined atpreventing

   Am ericanswho espouse far-rightpoliticalideasfrom engagiùgin free speech and free

   associationbysubjectingpeoplewhohayedonenowrongtoembarrasslent,lossof
   em ploym ent,socialostracism and possibly even threatsofphysicalharm . The Courtlikely finds

   theièealsheldbythe'alt-right''toberepggnant.MostAmericansdo.ButtheFirstAmendment
   existsprecisely to safeguardtherightto expressand advocateforcontroversialideaswith which

   themajoritydisagrees.Afterall,no suchprotectionsarenecessarywhen oneisexpressing
   Popularidyasconsistentwith prevailing orthodoxy.

             And itisvitalto understand the dangershere. Thiswillnotstop w ith the ''alt-right''.If

   allowed,Plaintiffs'tacticswillquicklybeappliedto othergroups. One can easily imagine

   lak suitssupporting third-party requeststo identify everyone w ho ism em berofthe M osque

   attendedby Om arM ateen,theIslnm icterrorijtwho killqd49people in Orlando,Floridain
   201629'oreveryone involved in the Black LivesM atlerm ovem ent, w hich inspired the m tlrders
                                                                   .




                         '   f.       .

   29Seehttps://en.wikipedia.org/wiki/orlahdo nightclub shooting
                                                          -



                                                    39
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   Of8police
           'officersbyGavinLongandVicahJohnsontn201630,orthedonorstotheSouthem
                                                                          .


                                                .                              *
   Poverty Law Center,which provided amap enabling Floyd Corkinsto shootup theFam ily

   Research Cotmcilin 201231. TheCourtshould end thisnow ,and protecttheFirstAm endm ent

   rightsofM ovant,and a1lthosesim ilarly situated,ofwhateverpoliticalideology. Forthereasons

   setforth above,the subpoenassh6uld bequashed.



         D A TED :February 23,2018                       R espectfully Subm itted

                                                         Jolm D oe

                                                         /s/John D oe
                                                         Pro Se
                                                         subpoenadoel@protonmail.com




   30seehttps://en.w ikipedia.orz/wiki/zol6 shootinc of Baton Rouae police officers#victim s;
   hûps://en.w ilcipedia.org/w iki/zol6 shooting of p allas police oflcers
                                            -       -                -

   glSeehkps://- .cnn.coe zolz/o8      - /l6/us/dc-shooting-blame/index.htm l
                                                    40
Case 3:17-cv-00072-NKM-JCH Document 243 Filed 02/26/18 Page 41 of 41 Pageid#: 1545




                                CERTI/ICATE oF :ERVICE
         Iherebycertifythatonthis24thdayofFebruary,2018,acojy oftheforegoingwas
   submittedtotheClerk'soffce ofthe CharlottesvilleDivision oftheU.S.DistrictCourtfor1he
   W estern DistrictofVirginiaat255 W .M ain Street,Room 304,Charlottesville,VA 22902 by
   U.S.PostaiServiceExpressMail.A copyofthissubmissionwassentbyemailtotheemail
   addresse;softhepm iesand counsellisted below .
                                        '




                                                    /s/Jolm Doe
                                                    Pro Se


                                   1

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